                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN
                               GREEN BAY DIVISION

Nicholas Ast,                                       Case No.

         Plaintiff,
                                                       COMPLAINT FOR DAMAGES
v.                                                  UNDER THE FAIR DEBT COLLECTION
                                                       PRACTICES ACT AND OTHER
H&P Capital, Inc.,                                         EQUITABLE RELIEF

         Defendant.
                                                     JURY DEMAND ENDORSED HEREIN


                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Defendant is a “debt collector” as defined by the 15 U.S.C. §1692a(6).

3. As described below, Defendant attempted to collect from Plaintiff a “debt” as defined by 15

     U.S.C. §1692a(5).

4. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

5. On or around May 6, 2010, Defendant telephoned Plaintiff’s uncle in connection with the

     collection of the debt without Plaintiff’s permission.

6. On or around May 6, 2010, Plaintiff telephoned Defendant after learning of the

     communication referenced above.

7. During this communication, Defendant falsely represented that Plaintiff had committed a

     “Class A Felony”.




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8. During this communication, Defendant falsely represented that Defendant was ready to

    “press charges” against Plaintiff unless he paid Defendant.

9. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

    anxiety and stress.

10. Defendant violated the FDCPA.

                                            COUNT ONE

                          Violation of the Fair Debt Collection Practices Act

11. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

12. Defendant violated 15 U.S.C. §1692c(b) by communicating with a third party in connection

    with the collection of the debt without Plaintiff’s permission.

                                            COUNT TWO

                          Violation of the Fair Debt Collection Practices Act

13. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

14. Defendant violated 15 U.S.C. §1692e by using false, deceptive, or misleading representations

    in connection with the collection of the debt.

                                          JURY DEMAND

15. Plaintiff demands a trial by jury.

                                       PRAYER FOR RELIEF

16. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.




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                           RESPECTFULLY SUBMITTED,

                           Legal Helpers, P.C.

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